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9
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10   UNITED STATES OF AMERICA

11                           UNITED STATES DISTRICT COURT

12                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

13   UNITED STATES OF AMERICA,                No. CR 17-697-SJO

14              Plaintiff,                    STIPULATION REGARDING REQUEST FOR
                                              CONTINUANCE OF SENTENCING DATE
15                    v.
                                              CURRENT SENTENCING DATE:
16   DANIEL FLINT,                            July 1, 2019

17              Defendant.                    PROPOSED SENTENCING DATE:
                                              September 16, 2019
18

19
20         Plaintiff United States of America, by and through its counsel
21   of record, the United States Attorney for the Central District of
22   California and Assistant United States Attorneys Christine M. Ro and
23   Ian V. Yanniello, and defendant Daniel Flint (“defendant”), by and
24   through his counsel of record, Gregory Nicolaysen, hereby stipulate
25   as follows:
26   //
27   //
28   //
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1          1.    On October 19, 2018, defendant was convicted by a jury of

2    entering a secure area of Los Angeles International Airport, in

3    violation of 49 U.S.C. § 46314(a), (b)(2).          (Dkt. 111.)

4          2.    The Court originally set defendant’s sentencing for

5    February 11, 2019.       As described below, the Court subsequently

6    continued the sentencing hearing to its current date, July 1, 2019.

7          3.    On October 29, 2018, defendant’s prior counsel filed a

8    request to continue the hearing date and deadlines related to

9    defendant’s post-trial motion for judgment of acquittal.            The Court
10   granted the request, ordering that defendant’s post-trial motion

11   would be heard on the date of defendant’s sentencing (February 11,

12   2019).     (Dkt. 124.)

13         4.      The Court subsequently granted two requests to continue

14   defendant’s sentencing hearing and the hearing on defendant’s post-

15   trial motion for acquittal, which defendant’s prior counsel filed on

16   March 4, 2019.     (Dkt. 135.)    The government filed its opposition to

17   defendant’s post-trial motion on March 26, 2019.           The Court denied

18   defendant’s motion on May 14, 2019.        (Dkt. 152.)

19         5.    On March 28, 2019, defendant’s prior counsel filed an ex
20   parte application for an order relieving the Office of the Federal

21   Public Defender from its representation of defendant due to a

22   conflict of interest.      (Dkt. 148.)    On April 8, 2019, the Court

23   granted the application and appointed current counsel, Gregory

24   Nicolaysen, to represent defendant in this proceeding.            (Dkt. 149.)

25         6.    On April 18, 2019, the Court granted the parties request to

26   continue the sentencing to July 1, 2019 as Mr. Nicolaysen was
27   appointed as new counsel on April 8, 2019 and needed additional time

28   to review the case file and meet with defendant.

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1          7.    On June 19, 2018, the government contacted Mr. Nicolaysen

2    about the present sentencing date (July 1, 2019).           Mr. Nicolaysen

3    informed the government that he will need additional time to complete

4    the preparation of defendant’s sentencing briefing.

5          8.    Thus, the parties respectfully request that the Court

6    continue the sentencing hearing from July 1, 2019 at 10:00 a.m. to

7    September 16, 2019 at 10:00 a.m.

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9     IT IS SO STIPULATED.
10    Dated:    June 20, 2019              Respectfully submitted,

11                                         NICOLA T. HANNA
                                           United States Attorney
12
                                           BRANDON D. FOX
13                                         Assistant United States Attorney
                                           Chief, Criminal Division
14

15                                             /s/
                                           IAN V. YANNIELLO
16                                         CHRISTINE M. RO
                                           Assistant United States Attorneys
17
                                           Attorneys for Plaintiff
18                                         UNITED STATES OF AMERICA

19
20
      Dated: June 20, 2019                   /s/ with e-mail authorization
21                                         GREGORY NICOLAYSEN
                                           Attorney for Defendant
22                                         DANIEL FLINT

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